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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA


          -v-
                                                                 No. 18-cr-373 (RJS)
                                                                      ORDER
 ROBERT RHODES,

                                Defendant.


RICHARD J. SULLIVAN, Circuit Judge:

         The Court is in receipt of a pro se letter from Defendant Robert Rhodes, dated October 15,

2020, asserting that he is not receiving proper medical attention while in custody at USP, Canaan,

in violation of his Eighth Amendment rights (attached hereto). Rhodes’s counsel has informed the

Court that they anticipate addressing the issues raised in this letter in a forthcoming counseled

motion and that the Court need not construe this letter as a pro se request for relief. Accordingly,

the Court will not take any action at this time and will await Rhodes’s counseled motion. The

Clerk of Court is respectfully directed to mail a copy of this order to Rhodes.



SO ORDERED.

Dated:          November 5, 2020
                New York, New York


                                                      RICHARD J. SULLIVAN
                                                      UNITED STATES CIRCUIT JUDGE
                                                      Sitting by Designation
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